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                          UNITXD STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               CA SE N O .21-CR -20240-JEM

 UNITED STATES OF AG RICA



 NIW ANE PETIT PH ELPS,

       D efendant.
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                                   FA CTU AL PR O FFER

        The United St4tes of America and the defendant,Niviane PetitPhelps,agree that had

 thiscaseproceeded to trial,theUnited Stateswouldhaveproven,beyond areasonabledoubt,the

 following facts,among others,pertaining to violationsof18 U.S.C.j871thatoccurred in the
 Southem DistrictofFlorida.

        Kamala Harris isthe Vice Presidentof the United States.She was elected to oftke in
                                                                                                  q'
 November of2020 and assumed office in January 2021.On Febnmry 13,2021,the defendant '

 Slmed two 3o-secönd video recordings depicting herself threatening to lcill Vice President

 KnmalaHarris.In the srstvidço,thedefendantsaid:ttlkamalaHarrisyou are going to die.Your

 daysaren''mberedalready.someonepaidme$53,000justtofuck youup.''Inthesecondvideo,
 thedefendantsaid tilfam ala Harrispu'ta dim e on me.Iputa fucking dim e back on her.$53,000
                                                     .




 that's yom fucking number. It's on your fucking head bitch.''On February 14, 2021,the

 defendantslm ed two additionalvideosthreatening to ldllVice PresidentHanis.In the Erstof

 these videos,the defendantsaid:itlfnmala Harris,you golm a fuclting die bitch.Okay? lf 1see

 you in the street,I'm a killyo ass,Kam alaHarris,fuck you,bitch.''ln the second ofthesevideos,

 thedefendantsaid:çtl'm going to the gun range,justforyourass,tmtilyou fuckin'leave the
                                                             our E xbibl-f                   I
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     chair.I'm going to round you,ride you,and ifIsee you,I'm going to ptmch you rightin m ur
     sllit.''On February 18,2021,the defendantfilm ed two m ore videosthreaterling to killthe Vice '
                                                                                            r
                                                                                                   (
                                                                                                   :
     President. In the first of these videos,the defendant said: 1150 days from today you ,will '.

     die...vice PresidentKam ala Harrisyou willf'
                                                ucking die 50 daysfrom today...$53,000.1'm the .
                                                                                               '
     ltitm an ''In the second ofthesevideos,the defendantsaid:tçand fucking Kam alaHan'
                                                                                      is1swear ,

     to god,today is yotzr day,you gorm a die.50 days from today,m ark this day down,you stupid

     bitch,Kam ala fucking Hanisvice president,you golma fucking die 50 daysfrom today.'' She

     sent these videos to her imprisoned husband using an application called D ay. The Jpay

     application is a computer application that allows for the sharing of m edia to incarcerated

     individuals.

            On February 20,2021,the defendantsenta photograph ofherselfholding a firenrm with

     a targetsheetata gun range to her husband using Jpay.On February 22,2021,the defendant

     âpplied for a concealed weapon perm it.On M arch 6,2021,1aw enforcem entapproached the
                                '                                                           i
              '             .

     d                                                                                          k
      efendantabouthervideo threats,and she agreed to voltmtarily speak with them .Thedefendant .
                                                                                    -   .   I

     adm itted to filming thevideosorhaving herchildren film them .Shealso told law enforcement, j'

     thatbeforesending them to herhusband sheknew someoneelsecould seethem and shethought

     to herselfG&you know what? Here goesnothing,Idon'tcare.''Lastly,she told officersthathad

     1aw enforcem entnotcom eto herhousesheGçdoesn'tknow''whatwould have happened.




                                    (Thisspaceintentionallyleftblnnk)




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                      The information contained in this proffer is not a complete recitation of the facts and

             circumstancesofthiscase,butthe partiesagree itissuftk ientto provethelndictmentbeyond a '

             reasonable doubt.



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